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                                       UNITED STATES DISTRICT COURT
                                    IN THE DISTRICT OF SOUTH CAROLINA
                                         DIVISION OF SPARTANBURG



  NATALIE RUTH, individually and on behalf
  of those similarly situated,                                Case No._________

                       Plaintiff,                             CLASS ACTION COMPLAINT

          v.
                                                              JURY TRIAL DEMANDED
  LIMESTONE UNIVERSITY,

                       Defendant.


                                        CLASS ACTION COMPLAINT

         Natalie Ruth (“Plaintiff”), individually and on behalf of those similarly situated former

employees as defined herein, bring this suit against Limestone University, (“Defendant”), by way

of this Class Action Complaint, alleging as follows:

                                         NATURE OF THE ACTION

         1.       This is a Class Action Complaint brought under the Worker Adjustment and

Retraining Notification Act, 29 U.S.C. §§ 2101–2109 (the “WARN Act”), by the Plaintiff,

individually and on behalf of the other similarly situated former employees, against Defendant, the

employer for WARN Act purposes.

         2.       Defendant operates a facility located at 1115 College Drive, Gaffney, South

Carolina, where Plaintiff and other similarly situated employees worked (“Facility”).

         3.       Plaintiff and the putative class of similarly situated employees worked remotely

from their homes. At all relevant times, however, Plaintiff and the putative class received

assignments from the Facility and otherwise directly reported to the Facility.




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         4.       Upon information and belief, within 90 days of April 30, 2025, Defendant

terminated over fifty and/or at least 33% of active full-time employees, including Plaintiff, at the

Facility.

         5.       Defendant failed to provide 60 days’ advance notice of these layoffs.

         6.       Plaintiff brings this action, individually, and on behalf of other similarly situated

former employees who worked for Defendant and were terminated as part of the foreseeable result

of a mass lay off or plant closing ordered by Defendant on or around April 30, 2025, and who were

not provided 60 days’ advance written notice of their terminations by Defendant, as required by

the WARN Act.

         7.       Plaintiff and other similarly situated employees should have received the full

protection afforded by the WARN Act.

                                   JURISDICTION AND VENUE

         8.       This Court has jurisdiction over this matter pursuant to 28 U.S.C § 1331 and 29

U.S.C. § 2104(a)(5).

         9.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) and 29

U.S.C. § 2104(a)(5).

                                               PARTIES

         10.      At all relevant times, the Representative Plaintiff is a member of the Nationwide

class (as defined below).

         11.      Plaintiff Natalie Ruth is a citizen of the United States and resident of Cherokee

County, South Carolina. Plaintiff Ruth was employed by Defendant at all relevant times at the

Facility. Plaintiff Ruth was employed for over six months and is an “aggrieved employee” within




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the meaning of 29 U.S.C. § 2104(a)(7). Plaintiff Ruth was terminated without cause and did not

receive 60 days’ notice before termination.

         12.      Defendant Limestone University, is a non-profit university, located at 1115 College

Drive, Gaffney, South Carolina, 29340. Defendant at all times operated the Facility. As registered

with the South Carolina Secretary of State, Defendant may be served by its registered agent,

Jeremy Whitaker, 1115 College Drive, Gaffney, South Carolina 29340.

         13.      Upon information and belief, Defendant conducted business in this district and, at

all relevant times, operated the Facility, where Plaintiff and the other similarly situated individuals

worked or were based at, reported to, and received assignments from.

         14.      Defendant made the decision to terminate employees, including Plaintiff and those

other similarly situated former employees, without 60 days’ advance notice, terminating over 50

employees and at least one-third of the workforce.

                                               FACTS

         15.      On or about April 17, 2025, Defendant informed a group of 478 employees,

including Plaintiff, that their jobs would be terminated on April 30, 2025.

         16.      Upon information and belief, at least 478 employees, including Plaintiff, were

terminated from the Facility on April 30, 2025.

         17.      Defendant did not provide proper WARN Act Notice, 60 days in advance, as

required by 29 U.S.C. §§ 2101 et seq. even though it planned to abolish, terminate, and/or layoff

at least 50 employees and 33% of the employees employed there.

         18.      Upon information and belief, no circumstances existed that would have permitted

Defendant from reducing the notification period as provided in 29 U.S.C. § 2102(b).




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         19.      By failing to provide its affected employees who were temporarily or permanently

terminated on or around April 30, 2025, with proper WARN Act Notices and other benefits,

Defendant acted willfully and cannot establish that they had any reasonable grounds or basis for

believing their actions were not in violation of the WARN Act.

                                  CLASS ACTION ALLEGATIONS

         20.      Plaintiff brings this WARN Act claim as a Class Action pursuant to Federal Rule

of Civil Procedure 23 on behalf of the following Nationwide class:

         All employees of Defendant who were terminated pursuant to a mass layoff or plant
         closing (as those terms are defined in the WARN Act) within 90 days of April 30,
         2025

         21.      Class Action treatment of WARN Act claims is appropriate because all of Federal

Rule of Civil Procedure 23’s Class Action requisites can be satisfied. For example:

               a. The class includes, upon information and belief, over 50 class members, and, as

                  such, is so numerous that joinder of all the class members is impracticable under

                  these circumstances, thereby satisfying Federal Rule of Civil Procedure 23(a)(1).

               b. Questions of law and fact are common to each class, including, inter alia, whether

                  Defendant provided adequate notice of its mass layoff under the WARN Act, 29

                  U.S.C. § 2102. Thus, Plaintiff satisfies Federal Rule of Civil Procedure 23(a)(2).

               c. Plaintiff is a member of the class and brings claims typical of the claims of other

                  class members. Plaintiff has no interests that are antagonistic to or in conflict with

                  the interests of other class members. Thus, Plaintiff satisfies Federal Rule of Civil

                  Procedure 23(a)(3).

               d. Plaintiff will fairly and adequately represent the class and its interests. Moreover,

                  Plaintiff has retained competent and experienced counsel who will effectively




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                  represent the interests of the class. Thus, Plaintiff satisfies Federal Rule of Civil

                  Procedure 23(a)(4).

         22.      Class certification is appropriate pursuant to Federal Rule of Civil Procedure

23(b)(1) because the prosecution of separate actions by individual class members would create a

risk of inconsistent or varying adjudications, which would establish incompatible standards of

conduct for Defendant and/or because adjudications with respect to individual class members

would as a practical matter be dispositive of the interests of non-party class members.

         23.      Class certification is appropriate pursuant to Federal Rule of Civil Procedure

23(b)(2) because Defendant acted or refused to act on grounds generally applicable to the Class,

making appropriate declaratory and injunctive relief with respect to Plaintiff and the class as a

whole.

         24.      Class certification is appropriate under Federal Rule of Civil Procedure 23(b)(3)

because common questions of law and fact predominate over any question affecting only

individual class members, and because a Class Action is superior to other available methods for

the fair and efficient adjudication for this litigation.

                                          COUNT I
                   VIOLATION OF THE WARN ACT, 29 U.S.C. §§ 2101, et seq.
                                         (WARN Act)
                         (On behalf of Plaintiff and the putative class)

         25.      Plaintiff re-alleges and incorporates all preceding paragraphs as if set forth in full

here.

         26.      Defendant is an “employer” within the meaning of the WARN Act, 29 U.S.C

§ 2101(a)(1).

         27.      Plaintiff and the putative class were at all relevant times “affected employee[s]”

within the meaning of the WARN Act, 29 U.S.C § 2101(a)(5).



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         28.      The terminations on April 30, 2025, resulted in “employment losses” as defined in

29 U.S.C. § 2101(a)(3)(B)(i)(I) and (II) for at least 33 percent of the employees and at least 50

employees. Any ongoing terminations, occurring within any 90-day period, frontward or backward

facing, may be aggregated. 29 U.S.C. § 2102(d).

         29.      For purposes of 29 U.S.C. § 2101(a)(3)(B)(i)(I) and (II), the Facility constitutes a

single site of employment in that each employee’s facility was the location to which relevant

employees were assigned as the home base, the place from which work was assigned, and the place

to which they reported for work.

         30.      The WARN Act requires employers to provide 60-days’ notice of any plant closing

or mass layoff “to each representative of the affected employees . . . or, if there is no such

representative at that time, to each affected employee,” 29 U.S.C. § 2102(a)(1), and “to the State

or entity designated by the State to carry out rapid response activities under [29 U.S.C. §]

3174(a)(2)(A),” as well as to “the chief elected official of the local government within which such

closing or layoff is to occur,” 29 U.S.C. § 2102(a)(2).

         31.      On information and belief, Defendant did not give 60 days’ written notice of the

plant closing and/or mass layoff to any “affected employee,” including Plaintiff and the putative

class, as that term is defined in 29 U.S.C § 2101(a)(5).

         32.      Defendant violated the WARN Act by failing to give timely written notice of the

mass layoff or plant closing as required by 29 U.S.C. § 2102(a), which began on or about April

30, 2025.

         33.      As such, Plaintiff and the putative class are “aggrieved employees” within the

meaning of the WARN Act, 29 U.S.C. § 2104(a)(7).




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         34.      The WARN Act expressly permits an “aggrieved employee” to bring a civil action

individually and on behalf of all those similarly situated to seek relief for violations of the

provisions of 29 U.S.C. § 2102. See 29 U.S.C. § 2104(5).

         35.      Moreover, Defendant’s violations of the WARN Act were not in good faith, and

Defendant have no reasonable grounds for believing that the plant closing or mass layoff it ordered

was not in violation of the notice requirements at 29 U.S.C. § 2102.

                                  PRAYER FOR RELIEF

         WHEREFORE, Plaintiff prays for the following relief:

         1.       Certification of the Class as a Class Action pursuant to Federal Rule of Civil

Procedure 23(b), and designation of Plaintiff as a representative of the Class and counsel of record

as Class Counsel;

         2.       A declaration that Defendant violated the WARN Act;

         3.       A judgment against Defendant and in favor of Plaintiff and the putative class for

back pay to the fullest extent permitted by the WARN Act, 29 U.S.C. § 2104(a)(1)(A);

         4.       A judgment against Defendant and in favor of Plaintiff and the putative class for

the loss of benefits, including, but not limited to, medical expenses incurred by Plaintiff and the

putative class during the employment loss, to the fullest extent allowable under the WARN Act,

29 U.S.C. § 2104(a)(1)(B);

         5.       A finding that Defendant’s violations of the WARN Act were and are willful, not

in good faith, and that Defendant has no reasonable grounds for believing that its mass layoff was

not in violation of the notice requirements of the WARN Act, 29 U.S.C. § 2102;




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         6.       A judgment against Defendant and in favor of Plaintiff and the putative class for

litigation costs, expenses, attorney’s fees to the fullest extent permitted under the WARN Act, 29

U.S.C. § 2104(a)(6), and for discretionary costs pursuant to Federal Rule of Civil Procedure 54(d);

         7.       A judgment against Defendant for civil penalties to the fullest extent allowable

under the WARN Act, 29 U.S.C. § 2104(a)(3); and,

         8.       Such other and further relief as this Court deems just and proper and allowed under

the WARN Act.



Dated: June 3, 2025                             Respectfully submitted,

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